
51 So. 3d 651 (2011)
Carlos E. SUAREZ, Appellant,
v.
STATE of Florida, UNEMPLOYMENT APPEALS COMMISSION, Appellee.
No. 4D10-06.
District Court of Appeal of Florida, Fourth District.
January 26, 2011.
*652 Carlos E. Suarez, Miami, pro se.
M. Elaine Howard, Deputy General Counsel, Tallahassee, for appellee.
PER CURIAM.
Affirmed. See Suarez v. Unemployment Appeals Commission, 871 So. 2d 1039 (Fla. 5th DCA 2004).
GROSS, C.J., TAYLOR and MAY, JJ., concur.
